
PER CURIAM.
Anthony Terrell Horton filed a motion for postconvietion relief pursuant to rule 3.850 of the Florida Rules of Criminal Procedure. Among his eight claims for relief, Horton asserted that his trial counsel was ineffective for failing to properly investigate Corey Saunders as a defense witness. We find Horton’s claim legally sufficient, and not refuted by the record. Jacobs v. State, 880 So.2d 548 (Fla.2004). Consequently, claims four and five concerning Saunders should be the subject of an evidentiary hearing. We affirm the trial court’s summary denial of the remaining claims.
POLEN, KLEIN and HAZOURI, JJ., concur.
